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                                                                                U.S. DISTRICT COURT E.D.N.Y.



UNITED STATES DISTRICT COURT
                                                                                 * SEP302010 *
EASTERN DISTRICT OF NEW YORK                                                  BROOKLYN OFFICE
                                                                      MEMORANDUM
UNITED STATES OF AMERICA                                              AND ORDER DENYING
                                                                      SUPPRESSION
                - against-                                            CR-IO-361 (S-2)

JOHN MICALI,

                               Defendant.
                                                                                        j
                                       I.         Introduction

        Defendant John Micali moves to suppress items recovered from the search of aU-Haul

van ("van") driven by him on February 17,2010. He contends that the warrantless search

violated his Fourth Amendment rights because there was no probable cause to search the van.

        The search and seizure was proper. There was probable cause to believe that the van was

being used in an attempt to take possession ofiarge quantities of marijuana being transported

from California to New York in violation of federal and state criminal statutes.

                                            II.      Facts

        On February 16,2010, a state trooper stopped an individual ("CW") who was speeding

on Interstate 80 in Henry County, Illinois. He was driving a pick-up truck pulling an enclosed

box trailer ("truck"). During a canine sniff, a drug dog alerted the trooper to the odor of illegal

narcotics. A search of the truck revealed approximately 197 pounds of marijuana hidden inside

three sofas.

        CW agreed to cooperate with state and federal law enforcement officers ("agents") in a

controlled delivery attempt in New York. The agents monitored conversations, while they were

taking place, through a Kel device, by telephone and in person by CW from the truck's driver's

compartment. See Transcript Hearing Sept. 27, 2010, p. 19 ("Tr").
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        While en route to New York, CW received a telephone call from an individual who

identified himself as "Brooklyn." "Brooklyn" advised CW to drive to the parking lot of a Target

store in Staten Island, New York, where one of his "boys" driving a U-Haul van would meet

him. "Brooklyn" told CW that the man in the van would guide CW in his truck to another

location a short distance away, presumably to remove the drugs.

        On February 17,2010 at approximately 8:00 p.m., during another recorded call, CW told

"Brooklyn" that he had arrived at the parking lot of the Target store in Staten Island. "Brooklyn"

asked the CW to pull to the front ofthe store, but the CW said that it would be better if he stayed

where he was due to the size of the trailer. "Brooklyn" then instructed CW that the van would be

there shortly.

        Approximately eight minutes later, at 8:08 p.m., the van driven by the defendant, John

Micali, pulled up next to CW's truck. In a recorded face-to-face conversation, MicaIi told CW to

follow him to a driveway about five minutes away where a shed was located. MicaIi further

explained that he would pull in first and then help the CW back the trailer in.

        Relevant portions of the recorded conversations are as follows:

                 CW (on the way from Illinois to Staten Island, by telephone):

                                 Yeah, I got it. So this is where I'm going?

                 BROOKLYN:       Okay. Yep. Go right there. So listen to me ...

                 CW:             Okay.

                 BROOKL YN:      ... Target parking lot my boys will be over there

                                 with a U-Haul van waiting for you.

                 CW:             Oh, man! I got a bunch of crap in the back on top

                                 of everything.



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            BROOKLYN: Nah, don't worry about it just pull right in over

                            there. You know, you're safe over there. You're

                            good.

            CW:             Okay. So Target parking lot. This is the address?

            BROOKLYN:       Yeah. I mean, you, you, you guys ain't gonna

                            stay over there. He's gonna take you to the place,

                            like, a few blocks from there.

                                               ****
                            Yeah, so, I figure you're only about three hours

                            away. So it's 3:30 now you should get there

                            about, like, 6:30. And one of my boys will shoot

                            over there about, like, six 0' clock.

                                          ****
            MICALI, defendant (face-to-face with CW in Target parking lot):

                            How you doing, my man?

            CW:             What's really going on?

            MICALI:         Pretty good. I've been waiting here for you.

            CW:             [Voices overlap1 That is not suggested for this

                            fucking neighborhood in this neck of the woods,

                            man.

            MICALI:         We got a good driveway ...

            CW:             Okay.

            MICALI:         All right, cool.



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            CW:           So I'm, I'm following you?

            MICALI:       Yeah, follow me. It's about five minutes. You're

                          gonna come out, make a right, go around to

                          Arther Kill and make a right and ...

            CW:           [Voices overlap1I, I know none of these streets,

                          bro'.

            MICALI:       Yeah, yeah, you just follow, my man.

            CW:           So just follow you?

            MICALI:       Yeah.

            CW:           We're, we're going to a pad or just a warehouse

                          or. .. ?

            MICALI:       Yeah. No, it got like a driveway with a big shed

                          in the back and everything, yeah.

                                            ****
            CW:           I have, I have a hard time seeing backing this

                          bitch up so ...

            MICALI:       I'll help you back in.

            CW:           Can I just pull in?

            MICALI:       Yeah, no, no. We'll, we'll back it in. This way

                          we'll unload it. ..

            CW:           [Voices overlap1 You know it flops down.

            MICALI:       Yeah.

            CW:           So we got room.



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               MICALI:           Yeah, we got plenty of room.

               CW:               All right, cool.

               MICALI:           [UlI] ... I'll pull ahead and then, I'll help you back

                                 in, okay?

                                               ****
Transcription of recorded conversation from telephone in cab ofCW's truck,

Gov. Exh 3500-RS-S, pp. 1-6.

       The arresting and searching agents were privy to these conversations before they arrested

Micali, looked into the van, observed a laundrylike bag in the back of the van by looking through

a window at the back of the cab, and opened and inspected the bag's contents.

       CW was observed following Micali along Arthur Kill Road in Staten Island until Micali

abruptly made a sharp u-turn and accelerated rapidly in what appeared to be an attempt to leave

the area. Tr. P.20. Because the CW was driving a large trailer carrying the marijuana-laden

couches, he could not follow Micali and was told by law enforcement to stop.

       Agents from the DEA and Illinois State Police followed Micali as he sped down Arthur

Kill Road. The agents observed him driving erratically until he made another u-turn and drove

onto Korean Veterans War Highway. Id. Once on the highway, law enforcement signaled

Micali to pull the van over to the side of the road; he did not obey and continued to drive for a

few miles until he finally pulled the van over.

       After pulling the vehicle over, law enforcement officers placed the defendant in

handcuffs. They held him some distance from the van.

       Subsequently, another officer peered into the back of the U-Haul through the cab and saw

what resembled a laundry bag. Id. at 2,3,7, S. Upon opening the back of the van, the agents



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picked up the bag and could feel that it contained hard objects. Inside the bag were a number of

recently purchased items, including several laundry bags, plastic bags, a pry bar, lanterns and a

flashlights. /d. at 4.

        Since the van did not belong to the defendant Micali, the DEA decided not to sieze it.

After securing the van, the agents took it to a nearby commuter parking lot to be picked up b a

U-Haul employee. DEA agents subsequently determined that the U-Haul van had been rented by

one Hanuka, another suspect in the case.

                              III.    Law and Conclusion of Law

        There was ample ground for the agents at the scene of the arrest to believe that Micali

was using the van he was driving in an attempt to take possession of marijuana in the truck being

driven by CWo His arrest was valid.

        Since he was under arrest and away from the van, Micali's arrest could not be the basis

for a search of the van. See Arizona V. Gant, 129 S. Ct. 1710, 1719 (2009). Tr. At 13

(concession that search of van was not predicated upon possibility that Micali could destroy

evidence or take possession of a weapon).

        The van was reasonably believed by the agents at the scene to be an instrumentality of a

crime, transporting narcotics while crimes were actually being committed. The van was itself

evidence of the crime as demonstrated by the 3500 material quoted above. Reasonable agents

could reasonably conclude that the van contained further evidence of the crime such as money to

pay for the drugs or instruments to offload and take physical possession of narcotic contraband

hidden in sofas.

        The agents reasonably looked into the U-Haul van, saw a bag that the agents could

reasonably infer contained evidence of the crime being committed. They saw a bag obviously



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placed in the van after it had been rented in an empty condition, probably for the purpose of

using it in this illegal venture. The bag was of a type not infrequently observed by the court - -

and presumably the agents - - to carry money to purchase drugs, and narcotics of the type seized

here, marijuana.

       They had the right to search the van and sieze the evidence since they had probable cause

"to believe the vehicle contain[ed] contraband or other evidence ofa crime." United States v.

Gagnon, 373 F.3d 230, 235 (2d Cir. 2004); See also Arizona v. Gant, 129 S. Ct. at 1719.

(Authorizing search if "it is 'reasonable to believe evidence relevant to the crime of arrest might

be found in the vehicle.'" (citation omitted)).

       Based on the evidence submitted the motion to suppress is denied. Should other evidence

suggest that this decision is inappropriate, a motion to reconsider may be made.



                                                      SO ORDERED.




                                                      Jack B. Weinstein
                                                      Senior United States District Judge
Dated: September 29,2010
       Brooklyn, New York




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